                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 KINZA KHAN

                                       Plaintiff,

 v.                                                 Court No.: 24-cv-05882

 WAYNE LEVINSON and                                 Honorable Judge Martha M. Pacold

 CANARY MISSION



                                    Defendants.


      PLAINTIFF’S MOTION TO WITHDRAW MOTION TO VACATE ORDER OF
                               DISMISSAL


       Currently pending before the Court is a motion to vacate order of dismissal filed by Plaintiff

on August 16, 2024. On August 28, 2024, this Court entered a minute entry stating that the motion

to vacate the order of dismissal is taken under advisement. Plaintiff respectfully requests that this

Court permit withdrawal of the motion to vacate order of dismissal.




                                              Respectfully submitted,

                                              /s/ Joseph R. Milburn
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                                              Joseph R. Milburn
                                              Attorney for Plaintiff

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